        Case 1-17-46613-nhl       Doc 60     Filed 04/24/18     Entered 04/24/18 11:16:06

Troutman Sanders LLP
875 Third Avenue
New York, New York 10022
                                                                            troutman~'
troutman.com
                                                                             sanders
Alissa Kim Piccione
D 212.704.6074
F 212.704.6288
alissa.piccione@troutman.com



Apri124, 2018

VGA ECF

Hon. Nancy Hershey Lord
United States Bankruptcy Judge
United States Bankruptcy Court
Eastern District of New York
271-C Cadman Plaza East =Suite 1595
Brooklyn, New York 11201

        Re:     Bracha Cab Coru. et al., Case No. 1-17-46613(NHLI


Dear Judge Lord:

        Please allow this letter to confirm that the following matters that were scheduled for April
26, 2018 at 11:00 a.m. have been adjourned on consent of all parties in interest to May 31, 2018
at 2:30 p.m.:

    • Motion of Capital One Equipment Finance Corp. to Vacate the Automatic Stay or, in the
      Alternative, Dismiss or Convert the Debtors' Cases or Appoint a Chapter 11 Trustee
      [ECF No. 23];

    • Debtors'Motionfor Authorization to Use Cash Collateral[ECF No. 29];

    • Debtors'Motion to Increase Exclusive Period to File Plan [ECF No. 51]; and

    • Case Management Conference.

       Thank you for Your Honor's attention to this matter. If Your Honor has any questions,
please do not hesitate to contact the undersigned.


                                                      Res ectfully submitted,


                                                      Alissa K. Piccione

cc: All Counsel of Record (via ECF)
    Angela Howard (via email)
